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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:07CR30
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )            TENTATIVE FINDINGS
                                            )
THIRUGNANAM RAMANATHAN,                     )
                                            )
              Defendant.                    )

      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 135). The government adopted the PSR. (Filing

No. 133.) The Court has also received the Defendant’s motion for deviation (Filing No.

136), the Defendant’s supporting brief (Filing No. 137), the government’s response to the

Defendant’s objection (Filing No. 138), and the government’s response to the Defendant’s

motion for deviation (Filing No. 139). See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

      The Defendant objects to the lack of a role reduction in ¶ 72. The objection will be

heard at sentencing.

      The Defendant’s motion for deviation will be heard at sentencing.

      IT IS ORDERED:

      1.      The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 135) will be heard at sentencing;

      2.      The Defendant’s motion for deviation (Filing No. 136) will be heard at

sentencing;
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       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 12th day of August, 2008.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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